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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           FORT MYERS DIVISION

ROBERT R. PRUNTY, JR., as
next    friend    of minor
children;     R.R.P,  III,
J.B.I.P, J.R.P, M.R.P and
M.E.P,

            Plaintiff,

v.                                   Case No: 2:14-cv-313-FtM-29CM

KATHLEEN SIBELIUS, ET AL.,

            Defendants.


                            OPINION AND ORDER

      This matter is before the Court on consideration of the

Magistrate Judge’s Report and Recommendation (Doc. #217), filed

November 20, 2014, recommending that Plaintiff's Motions for Leave

to File Third Amended Complaint (Docs. ##97, 177, 178) be denied

and that the matter be dismissed with prejudice.          Plaintiff filed

an Objection (Doc. #218) on December 1, 2014.         For the reasons set

forth below, the Magistrate Judge’s Report and Recommendation is

accepted and adopted as modified herein and the case is dismissed

without prejudice.

                                     I.

      Plaintiff Robert M. Prunty, Jr., proceeding pro se, brings

this action as next friend of his five minor children.                  The

operative pleading is Plaintiff’s Second Amended Complaint (Doc.
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#51.)     Construed liberally because of Plaintiff’s pro se status,

Plaintiff brings claims against multiple individual, corporate,

and government defendants under the Florida Deceptive and Unfair

Trade Practices Act (FDUTPA), the Thirteenth Amendment, Title VI

of the Civil Rights Act (Title VI), and for gross negligence.

(Id.)     Plaintiff’s Title VI and Thirteenth Amendment claims are

premised on his allegation that, on account of their race, his

children were not provided with adequate individualized education

plans as required by the Individuals with Disabilities Education

Act (IDEA).      (Id.)     In support of his negligence and FDUTPA

claims, Plaintiff alleges that his minor children were harmed as

a result of their use of the prescription drugs Abilify and

Risperdal, which Plaintiff contends were deceptively labeled and

defectively manufactured.        (Id.)     Multiple Defendants have moved

to dismiss the Second Amended Complaint.          (Docs. ##53, 58, 61, 64,

70.)

        On August 27, 2014, the Magistrate Judge advised Plaintiff

that a non-lawyer cannot represent a third-party before the Court

and,    therefore,   because    the    Second   Amended    Complaint   alleged

claims only on behalf of Plaintiff’s children, his case was due to

be dismissed unless he obtained counsel.                  (Doc. #173.)    The

Magistrate Judge granted Plaintiff 45 days to obtain counsel and

warned him that a failure to do so would result in a sua sponte

dismissal of his case.         (Id.)    Plaintiff did not obtain counsel.



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Instead, Plaintiff filed multiple motions for leave to file a third

amended complaint in an attempt to plead claims on his own behalf

and on behalf of the children’s mother.1          (Docs. ##177, 178.)   The

Magistrate Judge reviewed the proposed third amended complaint,

concluded that amendment would be futile as Plaintiff did not

assert any viable claims brought on his own behalf or on behalf of

the children’s mother, and recommended that the Court dismiss the

case with prejudice.      (Doc. #271.)

                                    II.

      After conducting a careful and complete review of the findings

and recommendations, a district judge may accept, reject or modify

the magistrate judge’s report and recommendation.             28 U.S.C. §

636(b)(1); United States v. Powell, 628 F.3d 1254, 1256 (11th Cir.

2010).    A district judge “shall make a de novo determination of

those portions of the report or specified proposed findings or

recommendations     to   which   objection   is    made.”    28   U.S.C.   §

636(b)(1)(C).     See also United States v. Farias-Gonzalez, 556 F.3d

1181, 1184 n.1 (11th Cir. 2009).        This requires that the district

judge “give fresh consideration to those issues to which specific

objection has been made by a party.”         Jeffrey S. v. State Bd. of

Educ. of Ga., 896 F.2d 507, 512 (11th Cir. 1990) (quoting H.R.

1609, 94th Cong., § 2 (1976)).        The district judge reviews legal


1 One additional motion for leave to amend (Doc. #97) was already
pending at the time of the Magistrate Judge’s order.



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conclusions de novo, even in the absence of an objection.               See

Cooper-Houston v. Southern Ry. Co., 37 F.3d 603, 604 (11th Cir.

1994).

                                    III.

      After    reviewing    the    Magistrate    Judge’s    findings    and

recommendations, the Court agrees with the Magistrate Judge that

Plaintiff’s case must be dismissed for failing to obtain counsel

to represent his minor children.        Although “Federal Rule of Civil

Procedure 17 authorizes a conservator or guardian to sue on behalf

of a minor child, a non-lawyer parent has no right to represent a

child in an action in the child’s name.”         Whitehurst v. Wal-Mart,

306 F. App’x 446, 449 (11th Cir. 2008).          As Plaintiff appears to

concede, the Second Amended Complaint does not allege any claims

on Plaintiff’s own behalf.        Plaintiff’s case is therefore subject

to dismissal unless Plaintiff’s proposed third amended complaint

adequately pleads any such claims.          As analyzed in detail by the

Magistrate Judge, it does not.       Accordingly, the Magistrate Judge

concluded that Plaintiff’s requests to amend his complaint must be

denied as futile and his case dismissed.

      Plaintiff offers three objections to the Magistrate Judge’s

recommendation.     First, Plaintiff argues that he may proceed pro

se on his IDEA claim because parents are “entitled to prosecute

IDEA claims on their own behalf.” Winkelman v. Parma City Sch.

Dist., 550 U.S. 516, 534 (2007).            Plaintiff is correct that a



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parent may qualify as an aggrieved party under the IDEA and,

accordingly, may bring their own causes of action without legal

representation.     Id.   However, before filing a civil action for a

violation of the IDEA, a plaintiff must first exhaust all available

administrative remedies, including a meeting with school officials

and a hearing before an Administrative Law Judge.         J.P. v. Cherokee

Cnty. Bd. of Educ., 218 F. App’x 911, 913 (11th Cir. 2007)            (“The

philosophy of the IDEA is that plaintiffs are required to utilize

the elaborate administrative scheme established by the IDEA before

resorting to the courts to challenge the actions of the local

school authorities.”).      Here, Plaintiff concedes that he bypassed

the administrative process entirely and instead “decided to go

directly to Federal Court.”       (Doc. #218, ¶ 11.)      Accordingly, to

the extent Plaintiff’s IDEA claim is not subject to dismissal for

failure to obtain counsel to represent his minor children, the

claim is subject to dismissal for failure to exhaust administrative

remedies.

      Second, Plaintiff argues that he may proceed on his Title VI

cause of action because it is brought on his own behalf and Title

VI does not require administrative exhaustion.            While Plaintiff

is correct that Title VI does not, as a general matter, require

exhaustion of administrative remedies prior to filing suit, Doe v.

Garrett, 903 F.2d 1455, 1460 (11th Cir. 1990), a plaintiff may not

avoid the IDEA’s exhaustion requirements simply by seeking the



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same relief via a different statute, Babicz v. Sch. Bd. of Broward

Cnty., 135 F.3d 1420, 1422 n.10 (11th Cir. 1998) (“[A]ny student

who wants relief that is available under the IDEA must use the

IDEA’s   administrative       system       even    if   he    invokes       a   different

statute.”)    (internal       quotation       omitted);        see     also     Loch     v.

Edwardsville Sch. Dist. No. 7, 327 F. App'x 647, 650 (7th Cir.

2009) (affirming dismissal of Title VI claim for lack of exhaustion

where relief sought in Title VI cause of action was access to the

free appropriate public education guaranteed by the IDEA).

       Here, Plaintiff explains that his Title VI claim is premised

upon his assertion that, on account of their race, he, his minor

children, and the children’s mother were denied rights afforded to

them by the IDEA.      (Doc. # 178, ¶¶ 63-78; Doc. #218, ¶ 23.)                        Such

a claim indisputably seeks relief available under the IDEA and,

therefore,    requires       exhaustion      of     the      IDEA’s    administrative

remedies.     Babicz, 135 F.3d at 1422 n.10.                   As explained above,

Plaintiff concedes that he has not done so and therefore his Title

VI claims are subject to dismissal.

       Lastly, Plaintiff argues that he has adequately pled causes

of action for negligence and deceptive and unfair trade practices.

However, as detailed by the Magistrate Judge, Plaintiff cannot

proceed on these causes of action because he has failed to allege

that   he   (as    opposed    to    his    minor    children)         was   injured      by

Defendants’       conduct.         Indeed,    in    his      Objection,         Plaintiff



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acknowledges that these claims are premised upon injuries suffered

by his minor children as a result of their use of Abilify and

Risperdal.      (Doc. #218, ¶¶ 26, 36.)               Accordingly, these causes

of action belong to Plaintiff’s minor children, and while he may

authorize a lawsuit on their behalf, he must obtain counsel in

order to do so.      Whitehurst, 306 F. App’x at 449.

      Therefore, Plaintiff’s objections are overruled and the Court

adopts the Magistrate Judge’s recommendation that Plaintiff’s case

should be dismissed.         However, the Court disagrees with the

Magistrate Judge’s recommendation that the Court dismiss the case

with prejudice.      Instead, the Court will dismiss each of the claims

brought on behalf of Plaintiff’s minor children without prejudice

to   refiling     should    Plaintiff          obtain     counsel.        Likewise,

Plaintiff’s     IDEA    claims     are    dismissed       without    prejudice   to

refiling    should     Plaintiff    continue         to   seek   relief   following

exhaustion of the IDEA’s administrative procedures.

      Accordingly, it is now

      ORDERED:

      1.     The Report and Recommendation (Doc. #217) is hereby

ADOPTED    as   modified   herein        and   the    findings    INCORPORATED   as

modified herein.

      2.     Plaintiff's Objection (Doc. #218) is OVERRULED.

      3.     Plaintiff’s Motions for Leave to File Third Amended

Complaint (Docs. ##97, 177, 178) are DENIED.



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      4.    Plaintiff’s    Second   Amended   Complaint    (Doc.   #51)    is

DISMISSED without prejudice.

      5.    The   Clerk   shall   terminate   all   pending   motions     and

deadlines as moot, and close the file.

      DONE and ORDERED at Fort Myers, Florida, this             12th      day

of December, 2014.




Copies: All Parties of Record




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